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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                             Case Number: 21-20177-CIV-MARTINEZ

  PAUL REIFFER,

          Plaintiff,

  v.

  ACTIVE CERTIFICATION SERVICES LLC,
  dba ACS W3 SOLUTIONZ,

        Defendant.
  ___________________________________/

                   ORDER ADOPTING REPORT AND RECOMMENDATION

          THIS MATTER was referred to the Honorable Jacqueline Becerra, United States

  Magistrate Judge, for a determination “with respect to Plaintiff’s damages, request for attorney’s

  fees and costs, and request for injunctive relief” after the Court partially granted Plaintiff’s motion

  for default judgment. (ECF No. 23, at 6). Judge Becerra issued a report and recommendation

  (“R&R”) recommending that Plaintiff’s request be granted in part and denied in part, and that final

  judgment be entered in favor of Plaintiff in the amount of $45,000 in statutory damages, that a

  permanent injunction be entered against Defendant as to the Photograph, and that Plaintiff’s

  counsel be awarded $4,339.10 in attorney’s fees and costs. (R&R, at 10–11, ECF No. 26). The

  Court has reviewed the entire record and notes that no objections have been filed. After careful

  consideration, it is

          ADJUDGED that United States Magistrate Judge Becerra’s Report and Recommendation,

  (ECF No. 26), is AFFIRMED and ADOPTED in its entirety. Accordingly, it is ADJUDGED

  that:
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         1.      Plaintiff’s request for damages, injunctive relief, and attorney’s fees and costs,

  (ECF No. 20), is GRANTED in part and DENIED in part. Plaintiff shall be granted statutory

  damages in the amount of $45,000 and a permanent injunction against Defendant as to the

  Photograph. Plaintiff’s counsel shall be awarded $4,339.10 in attorney’s fees and costs.

         2.      No later than December 7, 2021, Plaintiff shall file a proposed final judgment in

  accordance with this Order and Judge Becerra’s R&R. The proposed Final Judgment must include

  language on the injunctive relief sought.

         3.      Final judgment will be issued by separate order.

         DONE AND ORDERED in Chambers at Miami, Florida, this 3rd day of December, 2021.


                                                      ___________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Becerra
  All Counsel of Record
